Case 3:17-cv-00103-JPG-GCS Document 69 Filed 01/05/18 Page 1 of 3 Page ID #329



                            IN THE UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF ILLINOIS

   DALLAS McINTOSH, #B85114.                              )
                                                          )
                            Plaintiff,                    )
                                                          )
   v.                                                     )
                                                          )   Cause No. 3:17-cv-103-JPG-DGW
   WEXFORD HEALTH SOURCES, INC.,                          )
   NANCY KEEN, BARBARA RODRIGUEZ,                         )
   ST. CLAIR COUNTY, RICHARD WATSON,                      )
   and PHILIP McLAURIN,                                   )
                                                          )
                            Defendants.                   )


        DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT FOR PLAINTIFF’S
              FAILURE TO EXHAUST ADMINISTRATIVE REMEDIES

             COME NOW Defendants Wexford Health Sources, Inc. and Barbara Rodriguez, by and

 through their counsel, Sandberg Phoenix & von Gontard PC, and for their Motion for Summary

 Judgment For Plaintiff’s Failure to Exhaust His Administrative Remedies pursuant to Federal

 Rule of Civil Procedure 56 state as follows:

                                            INTRODUCTION

             1.    Plaintiff filed this 42 U.S.C. Section 1983 action on February 2, 2017. [Doc. 1]

             2.    Plaintiff was incarcerated at St. Clair County Jail at all times relevant to this case.

             3.    Plaintiff alleges Defendants Wexford Health Sources, Inc. and Barbara Rodriguez

 were deliberately indifferent to his serious medical needs because they failed to prevent him

 from attempting suicide.

             4.    No suit may be brought by an inmate pursuant to 42 USC Section 1983 and

 related to prison conditions unless he first exhausts his administrative remedies. 42 U.S.C.

 §1997e(a).



                                                      1
 9256586.1
Case 3:17-cv-00103-JPG-GCS Document 69 Filed 01/05/18 Page 2 of 3 Page ID #330



             5.    As explained in Defendants’ Memorandum of Law in Support of their Motion for

 Summary Judgment, plaintiff failed to exhaust his administrative remedies prior to filing suit and

 plaintiff’s Complaint should therefore be dismissed.

             6.    Defendants incorporate by reference their Memorandum of Law in Support of

 their Motion for Summary Judgment in this Motion.

             WHEREFORE, Defendants Wexford Health Sources, Inc. and Barbara Rodriguez

 respectfully requests this Court grant summary judgment in its favor and against Plaintiff and for

 any and such further relief the Court deems just and necessary.


                                              SANDBERG PHOENIX & von GONTARD P.C.



                                        By:   s/Kathryn M. Huelsebusch
                                              Rodney M. Sharp, #6191776
                                              Kathryn M. Huelsebusch, #6286903
                                              600 Washington Avenue - 15th Floor
                                              St. Louis, MO 63101-1313
                                              314-231-3332
                                              314-241-7604 (Fax)
                                              rsharp@sandbergphoenix.com
                                              khuelsebusch@sandbergphoenix.com
                                              Attorneys for Defendant Wexford Health Sources,
                                              Inc. and Barbara Rodriguez




                                                 2
 9256586.1
Case 3:17-cv-00103-JPG-GCS Document 69 Filed 01/05/18 Page 3 of 3 Page ID #331



                                       Certificate of Service

         I hereby certify that on the 5th day of January 2018 the foregoing was mailed by United
 States Postal Service to the following non-participant in Electronic Case Filing:

 LEGAL MAIL
 Dallas McIntosh, #B85114
 Menard Correctional Center
 711 Kaskaskia Street
 PO Box 1000
 Menard, IL 62259
 Pro Se

         I hereby certify that on the 5th day of January 2018 the foregoing was filed electronically
 with the Clerk of the Court to be served by operation of the Court’s electronic filing system upon
 the following:

 Katherine A. Porter
 Email: kap@bhtylaw.com
 Attorneys for Defendants Phillip McLaurin,
 Richard Watson and St. Clair County

 Timothy P. Dugan
 Maxwell D. Huber
 tdugan@cassiday.com
 mhuber@cassiday.com
 Attorneys for Nancy Keen, LPN


                                              s/Kathryn M. Huelsebusch




                                                  3
 9256586.1
